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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA
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 9    UNITED STATES OF AMERICA,                       Case No. 3:17-cr-00040-LRH-WGC

10                              Respondent/Plaintiff, ORDER
              v.
11
      DEVIN RAY KELBCH,
12                              Petitioner/Defendant.
13

14          Before the Court is petitioner Devin Ray Kelbch’s (“Kelbch”) motion, to vacate, set aside,
15   or correct his sentence pursuant to 28 U.S.C. § 2255 (ECF No. 36). Kelbch filed his motion
16   considering the recent ruling in Rehaif v. United States, 139 S. Ct. 2191 (2019). The Government
17   opposed (ECF No. 38), arguing that Kelbch’s claims are procedurally barred because he did not
18   raise them on direct appeal. In his reply (ECF No. 39), Kelbch maintains that the constitutional
19   errors are structural. For the reasons contained within this Order, the Court denies his motion and
20   denies him a certificate of appealability.
21   I.     BACKGROUND
22          On March 26, 2017, Reno police officers responded to a report of an individual passed out
23   in a vehicle in an apartment parking lot. ECF No. 38, at 2. Upon arrival, the officers found Kelbch
24   asleep at the wheel of a vehicle with the keys in the ignition while the vehicle was running. After
25   waking up, Kelbch gave the officers a false identity because he was on parole and did not want to
26   get revoked. Once officers discovered Kelbch’s true identity, they also determined that the vehicle
27   was stolen. In the vehicle, the officers found tools commonly used in burglaries, and, most notably,
28   a modified .410 caliber shotgun.
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 1          Kelbch is an ex-felon, and in February 2018, Klebch pled guilty to Unlawful Possession of

 2   a Firearm by a Previously Convicted Felon. ECF No. 33. This Court sentenced Kelbch to 63

 3   months’ imprisonment followed by three years of supervised release. Kelbch did not appeal.

 4          Now, Kelbch seeks to vacate his sentence pursuant to 28 U.S.C. § 2255.

 5   II.    LEGAL STANDARD

 6          Pursuant to 28 U.S.C. § 2255, a petitioner may file a motion requesting the court which

 7   imposed sentence to vacate, set aside, or correct the sentence. 28 U.S.C. § 2255(a). Such a motion

 8   may be brought on the following grounds: (1) “the sentence was imposed in violation of the

 9   Constitution or laws of the United States;” (2) “the court was without jurisdiction to impose such

10   sentence;” (3) “the sentence was in excess of the maximum authorized by law;” or (4) the sentence

11   “is otherwise subject to collateral attack." Id.; see United States v. Berry, 624 F.3d 1031, 1038 (9th

12   Cir. 2010). When a petitioner seeks relief pursuant to a right newly recognized by a decision of

13   the United States Supreme Court, a one-year statute of limitations applies. 28 U.S.C. §

14   2255(f). That one-year limitation period begins to run from "the date on which the right asserted

15   was initially recognized by the Supreme Court." Id. § 2255(f)(3). Kelbch filed his petition on June

16   16, 2020.

17          On June 21, 2019, the Supreme Court decided Rehaif, overturning established Ninth Circuit

18   precedent. 139 S. Ct. 2191. In the past, the government was only required to prove that a defendant

19   knowingly possessed a firearm under 18 U.S.C. §§ 922(g) and 924(a)(2). Id. at 2200. Now, under

20   Rehaif, the government “must prove both that the defendant knew he possessed a firearm and that

21   he knew that he belonged to the relevant category of persons barred from possessing a firearm.”

22   Id.

23   III.   DISCUSSION

24          Kelbch argues that by leaving out the new Rehaif element from the original indictment,

25   this Court lacked jurisdiction. ECF No. 36, at 14. Kelbch further alleges the omission in the

26   indictment violated both his Fifth Amendment guarantee that a grand jury find probable cause to

27   support all the necessary elements of a crime, and his Sixth Amendment right to effective

28   assistance of counsel and to be informed of the nature and cause of the accusation. Id. at 16–19.
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 1            A. Unconditional Guilty Plea

 2            The government contends that by pleading guilty unconditionally, Kelbch waived his right

 3   to make any non-jurisdictional challenges to the indictment; specifically, his Fifth and Sixth

 4   Amendment challenges. See Tollet v. Henderson, 411U.S. 258, 267 (1973). ECF No. 38, at 14.

 5            As part of his plea, Kelbch waived “all collateral challenges, including any claims under

 6   28 U.S.C. § 2255, to his conviction, sentence, and the procedure by which the Court adjudicated

 7   guilt and imposed sentence, except non-waivable claims of ineffective assistance of counsel.” ECF

 8   No. 25, at 12. Consequently, Kelbch waived “all non-jurisdictional defenses and cures all

 9   antecedent constitutional defects, allowing only an attack on the voluntary and intelligent character

10   of the plea.” United States v. Brizan, 709 F.3d 864, 866–67 (9th Cir. 2013). Considering the plea’s

11   cut-and-dry language, the Court finds Kelbch’s claims are barred by his guilty plea even in view

12   of the exceptions to Tollett v. Henderson, 411 U.S. 258 (1973). 1 Nevertheless, the Court still finds

13   it necessary to address the jurisdictional and procedural default arguments below.

14            B. Jurisdiction

15            This Court “has jurisdiction of all crimes cognizable under the authority of the United

16   States….” Lamar v. United States, 240 U.S. 60, 65 (1916). Any “objection that the indictment does

17   not charge a crime against the United States goes only to the merits of the case,” and does not

18   deprive the court of jurisdiction. Id.; see also United States v. Cotton, 535 U.S. 625, 630 (2020)

19   (reiterating Lamar). Quite importantly, the Ninth Circuit and decisions within the District of

20   Nevada have relied on the principle announced in Cotton in cases considering the aftermath of

21   Rehaif. See, e.g., United States v. Espinoza, 816 F. App'x 82, 84 (9th Cir. 2020) (“[T]he

22   indictment's omission of the knowledge of status requirement did not deprive the district court of

23   jurisdiction.”); see also United States v. Miller, Case No. 3:15-cr-00047-HDM-WGC (D. Nev.

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       Tollett limited federal habeas challenges to pre-plea constitutional violations. 411 U.S. at 267. Exceptions to this
26   general rule include a claim which the state cannot “constitutionally prosecute.” Class v. U.S., 138 S. Ct. 789, 805
     (2018) (quoting Menna v. New York, 423 U.S. 61, 63 (1975) (per curiam)). While Kelbch argues such an exception
27   exists in the present instance (ECF No. 36, at 21), the Court agrees with other well-reasoned decisions in the District
     of Nevada which hold it does not. See United States v. Abundis, Case No. 2:18-cr-00158-MMD-VCF-1 (D. Nev. Nov.
28   30, 2020) (finding that the exceptions to Tollett do not apply under Rehaif as the claims “could have been remedied
     by a new indictment.”).
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 1   Dec. 8, 2020); United States v. Baustamante, Case No. 2:16-cr-00268-APG (D. Nev. Dec. 7,

 2   2020).

 3            Therefore, pursuant to Ninth Circuit precedent and decisions in this District, the Court had

 4   and continues to have jurisdiction over Kelbch’s case despite Rehaif.

 5            C. Procedural Default

 6            The government also argues that Kelbch’s claims are procedurally defaulted. ECF No. 38,

 7   at 4. While a defendant certainly can question the underlying legality of his sentence or conviction,

 8   one who does not on direct appeal is procedurally defaulted from doing so unless they can

 9   demonstrate: (1) cause and prejudice; or (2) actual innocence. See Bousley v. U.S., 523 U.S. 614,

10   622 (1998) (citations omitted). “‘Cause’ is a legitimate excuse for the default; ‘prejudice’ is actual

11   harm resulting from the alleged constitutional violation.” Magby v. Wawrzaszek, 741 F.2d 240,

12   244 (9th Cir. 1984).

13            Kelbch did not challenge the validity of the indictment and/or plea on direct appeal, but

14   instead, argues his claims have not procedurally defaulted because he can demonstrate cause and

15   prejudice, or, in the alternative, the omission in his indictment is a structural error and therefore

16   only requires a showing of cause. ECF No. 39, at 8–17. Each argument is addressed in turn.

17                   1.      Cause

18            Kelbch can likely demonstrate cause. Rehaif overturned long standing precedent in the

19   Ninth Circuit, and the decision’s constitutional consequences were not “reasonably available to

20   counsel.” Reed v. Ross, 468 U.S. 1, 16 (1984).

21                   2.      Prejudice

22            Still, Kelbch cannot demonstrate prejudice. The Ninth Circuit has found in numerous

23   scenarios that, even if a defendant had been aware that the Government would need to prove the

24   knowledge-of-status element, there is no reasonable probability that the outcome would have been

25   different. See United States v. Espinoza, 816 F. App'x 82, 84 (9th Cir. 2020) (holding that “the

26   failure of the indictment and plea colloquy to include the element of knowledge of felon status

27   does not require us to vacate [the] conviction…”); United States v. Schmidt, 792 F. App’x 521,

28   522 (9th Cir. 2020) (“Although [defendant] did not argue below that the government was required
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 1   to prove [defendant] knew he was a felon, under any standard of review there was overwhelming

 2   evidence that [defendant] knew he was a felon when he possessed the firearms at issue in this

 3   case.”); United States v. Tuan Ngoc Luong, 965 F.3d 973, 989 (9th Cir. 2020) (finding in the trial

 4   context that, “even if the district court had instructed the jury on the knowledge-of-status element,

 5   there is no reasonable probability that the jury would have reached a different verdict…”). In other

 6   words, the Ninth Circuit has repeatedly found no actual harm resulted from alleged constitutional

 7   violations stemming from the decision in Rehaif in cases involving comparable facts to Kelbch’s.

 8          Here, Kelbch admitted that he had a prior felony at the time he possessed the weapon. ECF

 9   No. 25, at 3. In addition, Kelbch had previously served a term of imprisonment of more than a year

10   in each of at least three prior felony convictions. The Court is not persuaded that the inclusion of

11   the Rehaif element would have changed Kelbch’s decision to plead guilty or that his plea was

12   involuntary.

13          Accordingly, there is no reasonable probability, but for the Rehaif error, that the outcome

14   of the proceeding would have been different. Therefore, because Kelbch has not demonstrated

15   both cause and prejudice, he procedurally defaulted on his claims questioning the legality of his

16   conviction.

17          D. Structural Error

18          Alternatively, Kelbch argues the constitutional errors are structural, therefore only

19   requiring a showing of cause. “[C]ertain errors, termed structural errors, might affect substantial

20   rights regardless of their actual impact on an appellant’s trial.” United States v. Marcus, 560 U.S.

21   258, 263 (2010) (citations omitted). Structural errors go to the very heart of the trial and are not

22   “simply an error in the trial process itself.” Arizona v. Fulimante, 499 U.S. 279, 310 (1991).

23          While the Ninth Circuit has not decided whether the knowledge-of-status element in Rehaif

24   presents issues of structural error, numerous other circuits have concluded it does not. See United

25   States v. Nasir, 2020 WL 7041357, at *19, n.30 (3d Cir. Dec. 1, 2020); United States v. Coleman,

26   961 F.3d 1024, 1030 (8th Cir. 2020); United States v. Payne, 964 F.3d 652, 657 (7th Cir. 2020);

27   United States v. Lavalais, 960 F.3d 180, 187 (5th Cir. 2020); United States v. Trujillo, 960 F.3d

28   1196, 1207 (10th Cir. 2020).
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 1           The Court agrees with these circuit courts and concludes that Rehaif likely does not involve

 2   the limited class of errors the Supreme Court has deemed structural.

 3           E. Certificate of Appealability is Denied

 4           To proceed with an appeal of this Order, Kelbch must receive a certificate of appealability

 5   from the Court. 28 U.S.C. § 2253(c)(1); FED. R. APP. P. 22; 9TH CIR. R. 22-1; Allen v. Ornoski,

 6   435 F.3d 946, 950-951 (9th Cir. 2006). For the Court to grant a certificate of appealability, the

 7   petitioner must make "a substantial showing of the denial of a constitutional right." 28 U.S.C. §

 8   2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483-84 (2000). And the petitioner bears the burden

 9   of demonstrating that the issues are debatable among reasonable jurists; that a court could resolve

10   the issues differently; or that the issues are “adequate to deserve encouragement to proceed

11   further.” Slack, 529 U.S. at 483-84 (citation omitted).

12           As discussed above, Kelbch has failed to raise a meritorious challenge to his conviction

13   and sentence pursuant to the Ninth Circuit’s decisions following Rehaif. As such, the Court finds

14   that he has failed to demonstrate that reasonable jurists would find the Court’s assessment of his

15   claims debatable or wrong. See Allen, 435 F.3d at 950–51. Therefore, the Court denies Kelbch a

16   certificate of appealability.

17   IV.     CONCLUSION

18           IT IS THEREFORE ORDERED that Kelbch’s motion to vacate, set aside, or correct his

19   sentence pursuant to 28 U.S.C. § 2255 (ECF No. 36) is DENIED.

20           IT IS FURTHER ORDERED that a certificate of appealability is DENIED.

21           IT IS FURTHER ORDERED that the Clerk of Court ENTER a separate and final

22   Judgment denying Kelbch’s § 2255 motion. See Kingsbury v. United States, 900 F.3d 1147, 1150

23   (9th Cir. 2018).

24           IT IS SO ORDERED.

25           DATED this 7th day of January, 2021.

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27                                                         LARRY R. HICKS
                                                           UNITED STATES DISTRICT JUDGE
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